Case 10-40999 Document 124 Filed in TXSB on 06/29/16 Page 1 of 1

June 19, 2016
, United States District Cour;

Southern District of Texas

FILED
US BKPT COURT
515 RUSK AVE JUN 29 2uio
HOUSTON, TX 77002
David J, Bradley, Clerk of Court

RE: Inaccurate Reporting - DELLA GOINES

Dear Bankruptcy Clerk,

I am writing to dispute inaccurate information reported by the US BKPT
COURT to the credit reporting agencies (Experian, Equifax and
TransUnion).

I received a copy of my credit report showing that the US BKPT COURT
reported the following information:

Identification number: 1040999KKB

Date filed: Dec 2010

Claim amount: $0.00

Responsibility: Individual

Liability amount: $0.00

Status: Chapter 13 bankruptcy dismissed
Date resolved: Apr 2011

Status: Chapter 7 bankruptcy dismissed
Date resolved: Apr 2011

Please correct the inaccurate information that you provided to the
credit reporting agencies. I have enclosed a self addressed, prepaid
envelope for your response.

Thank you in advance for your immediate assistance and help correcting
this matter.

Sincerely Yours,

Del és
919 Adowa Spring Loop
Spring, TX 77373
